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14
                                UNITED STATES DISTRICT COURT
15                                   DISTRICT OF NEVADA

16

17    Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,       Case No.: 2:15-cv-01045-RFB-(BNW)
      Luis Javier Vazquez, and Kyle Kingsbury on behalf
18    of themselves and all others similarly situated,       APPENDIX OF EXHIBITS IN
                                                             SUPPORT OF DEFENDANT
19
                              Plaintiffs,                    ZUFFA, LLC’S RENEWED
20                                                           MOTIONS TO EXCLUDE THE
                              v.                             TESTIMONY OF PLAINTIFFS’
21                                                           EXPERTS DR. HAL J. SINGER, DR.
      Zuffa, LLC, d/b/a Ultimate Fighting Championship       ANDREW ZIMBALIST, AND GUY
22    and UFC,                                               A. DAVIS
23                            Defendant.
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             APPENDIX OF EXHIBITS TO ZUFFA’S RENEWED MOTIONS TO EXCLUDE PLS.’ EXPERTS
    Case 2:15-cv-01045-RFB-BNW Document 932-1 Filed 12/08/23 Page 2 of 3



                                         APPENDIX OF EXHIBITS
1

2               Pursuant to Local Rule IA 10-3(d), Defendant Zuffa, LLC (“Zuffa”), submits this
3
      Appendix of Exhibits in Support of Defendant Zuffa, LLC’s Renewed Motion to Exclude the
4
      Testimony of Plaintiffs’ Expert Guy A. Davis, Renewed Motion to Exclude the Testimony of
5
      Dr. Andrew Zimbalist, and Renewed Motion To Exclude Certain Opinions of Dr. Hal J.
6

7     Singer.

8
                The exhibits noted below are attached as exhibits to the Declaration of William A.
9
      Isaacson in Support of Defendant Zuffa, LLC’s Renewed Motions to Exclude the Testimony
10
      Plaintiffs’ Experts Dr. Hal J. Singer, Dr. Andrew Zimbalist, and Guy A. Davis.
11

12
        Exhibit                                 Description                                  Date
13
                     Expert Opening Report of Guy A. Davis
14          1                                                                               08/31/2017
                     Transcript Excerpts from First Deposition of Guy A. Davis
15          2                                                                               09/19/2017

16                   Expert “Rebuttal” Report of Guy A. Davis
            3                                                                               01/12/2018
17                   Transcript Excerpts from Second Deposition of Guy A. Davis
            4                                                                               01/30/2018
18                   Expert Opposition Report of Elizabeth K. Davis
            5                                                                               10/27/2017
19
                     Expert Report of Andrew Zimbalist
            6                                                                               08/30/2017
20
                     First Deposition of Andrew Zimbalist
21          7                                                                               09/25/2017
                     Herbert Hovenkamp, Federal Antitrust Policy (2nd ed. 1999)
22          8                                                                                     1999

23                   Errata to Expert Report of Andrew Zimbalist
            9                                                                               09/19/2017
24                   Expert Rebuttal Report of Andrew Zimbalist
           10                                                                               12/26/2017
25                   Daniel Rubinfeld, Research Handbook on the Economics of Antitrust
           11                                                                               11/21/2009
                     Law
26
                     Phillip Areeda, Herbert Hovenkamp, Roger D. Blair, & Christine
           12                                                                                     2014
27                   Piette Durrance, Antitrust Law (4th ed. 2014), Volume IIA

28

                APPENDIX OF EXHIBITS TO ZUFFA’S RENEWED MOTIONS TO EXCLUDE PLS.’ EXPERTS
    Case 2:15-cv-01045-RFB-BNW Document 932-1 Filed 12/08/23 Page 3 of 3



                 Expert Report of Roger D. Blair
1          13                                                                           11/15/2017

2                Second Deposition of Andrew Zimbalist
           14                                                                           01/26/2018
3                Andrew Zimbalist, There’s more than meets the eye in determining
           15                                                                           03/10/2008
                 players’ salary shares, Sports Business Journal
4                GBP000001 (Golden Boy Promotions Profit & Loss - 2015)
           16                                                                             2015
5
                 GBP000002 (Golden Boy Promotions Profit & Loss - 2016)
           17                                                                             2016
6
                 Exhibit 3 to Sbardellati Declaration (Backup to Zimbalist Table 2-E)
7          18                                                                           01/06/2017
                 Order, In re Google Play Store Antitrust Litigation, No. 20-5761 (N.D.
8          19                                                                           09/13/2023
                 Cal.), ECF No. 457
9                Letter, U.S. Supreme Court
           20                                                                           04/24/2023
10               Expert Report of Robert H. Topel
           21                                                                           10/27/2017
11               Professor Robert H. Topel’s Reply to the Supplemental Expert Report
           22                                                                           05/07/2018
                 of Hal J. Singer
12
                 Expert Report of Paul Oyer
           23                                                                           10/27/2017
13
                 Expert Report of Hal J. Singer
14         24                                                                           08/31/2017
                 Supplemental Expert Report of Hal J. Singer
15         25                                                                           04/03/2018

16               Transcript Excerpts from Deposition of Hal J. Singer
           26                                                                           09/27/2017
17               Declaration of Gregory K. Leonard
           27                                                                           12/01/2023
18               SCImago Journal & Country Rank (accessed Nov. 30, 2023)
           28                                                                           11/30/2023
19
                 WorldCat, Journal of Business and Economics (accessed Dec. 1, 2023)
           29                                                                           12/01/2023
20
                 Academic Star Publishing Webpage, FAQ (accessed Nov. 30, 2023)
21         30                                                                           11/30/2023

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24
      Dated: December 8, 2023                     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
25

26                                                By: /s/ William A. Isaacson
                                                      William A. Isaacson
27
                                                  Attorney for Defendant Zuffa, LLC, d/b/a
28
                                                  Ultimate Fighting Championship and UFC


            APPENDIX OF EXHIBITS TO ZUFFA’S RENEWED MOTIONS TO EXCLUDE PLS.’ EXPERTS
